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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA,

                    Plaintiff,

        v.
                                                         19 Civ. 3904
CHESTNUT PETROLEUM DIST., INC., CPD
ENERGY CORP., CPD NY ENERGY CORP,                        COMPLAINT
CHESTNUT MART OF GARDINER, INC.,
CHESTNUT MARTS, INC., GREENBURGH
FOOD MART, INC., MIDDLETOWN FOOD
MART, INC., and NJ ENERGY CORP,

                    Defendants.

       The United States of America, by and through its attorney, Geoffrey S. Berman, United

States Attorney for the Southern District of New York, acting on behalf of the United States

Environmental Protection Agency (“EPA”), alleges for its complaint against defendants Chestnut

Petroleum Dist., Inc. (“Chestnut”), CPD Energy Corp. (“CPD Energy”), CPD NY Energy Corp

(“CPD NY”), Chestnut Mart of Gardiner, Inc. (“Chestnut Mart of Gardiner”), Chestnut Marts, Inc.

(“Chestnut Marts”), Greenburgh Food Mart, Inc. (“Greenburgh Food Mart”), Middletown Food

Mart, Inc. (“Middletown Food Mart”), and NJ Energy Corp (“NJ Energy”) (collectively,

“Defendants”), as follows:
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                                         INTRODUCTION

       1.       Service stations typically store gasoline in underground storage tanks (“USTs”).

When operated conscientiously and monitored closely, USTs are a safe and effective means to

store gasoline. But when USTs are not subjected to basic operational safeguards, they can

endanger the public and the environment, for example by leaking petroleum into the water supply,

discharging toxic vapors into the air, or even triggering fires or explosions.

       2.       Recognizing the harms that may arise from USTs and the need to guard against

those harms through careful regulation, in 1984 Congress passed Subtitle I of the Resource

Conservation and Recovery Act (“RCRA”), 42 U.S.C. §§ 6691-6991m. Subtitle I and its related

regulations establish parameters for the regulation of USTs and place maintenance, monitoring,

and reporting obligations on the owners and operators of USTs in order to ensure that those USTs

are operating safely.

       3.       Defendants repeatedly violated regulations designed to protect the health and safety

of the public and the environment at twenty locations (the “Facilities”) within the Southern District

of New York and adjoining districts where Defendants either own USTs, operate them, or both.

       4.       In particular, at twenty separate Facilities, Defendants violated Subtitle I of RCRA

and its related regulations by one or more of the following: (i) failing to perform release (i.e., leak

or spill) detection; (ii) failing to maintain and provide records of release detection monitoring; (iii)

failing to operate corrosion protection systems (including inspecting and testing) and failing to

maintain and provide records of corrosion protection monitoring; (iv) failing to cap and secure

USTs that were temporarily closed; (v) failing to perform release detection for USTs that were

temporarily closed; (vi) failing to report suspected releases or unusual operating conditions for

USTs; (vii) failing to conduct release investigations and failing to confirm suspected releases or


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unusual operating conditions; and (vii) failing to establish “financial responsibility”—i.e., failing

to maintain the required insurance policies sufficient to take corrective action and compensate third

parties for bodily injury and property damage caused by accidental releases arising from the

operation of their USTs.

       5.       The United States brings this action pursuant to Section 9006(a)(1) of RCRA, 42

U.S.C. § 6991e(a)(1), for an order enjoining Defendants to comply with the relevant statutory and

regulatory requirements for USTs and to perform any necessary remedial actions that may be

necessary in light of their past violations. The United States also seeks civil penalties from

Defendants pursuant to Section 9006(d)(2) of RCRA, 42 U.S.C. § 6991e(d)(2).

                                 JURISDICTION AND VENUE

       6.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1345, and 1355, and Section 9006(a)(1) of RCRA, 42 U.S.C. § 6991e(a)(1).

       7.       Venue is proper in the Southern District of New York pursuant to 42 U.S.C.

§ 6991e(a)(1) insofar as the violations occurred within this District. To the extent certain

violations occurred outside of this District, such violations are properly asserted in this proceeding

under the pendent venue doctrine.

                                          THE PARTIES

       8.       Plaintiff is the United States of America on behalf of EPA.

       9.       Defendant Chestnut is a New York corporation located at 536 Main Street, New

Paltz, New York. At all times relevant to the allegations herein, Defendant Chestnut was the owner

and/or operator of USTs at Facilities 4, 5, 6, 8 and 9, described below. Defendant Chestnut, or its

subsidiaries or affiliates, was also the owner and/or operator of the USTs located at Facilities 15,

16, 17, 18, 19, and/or 20, at all times relevant to the allegations herein.


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       10.     Defendant Chestnut Mart of Gardiner is a New York corporation located at 536

Main Street, New Paltz, New York. At all times relevant to the allegations herein, Defendant

Chestnut Mart of Gardiner was the owner of USTs at Facility 8, described below.

       11.     Defendant Chestnut Marts is a New York corporation located at 536 Main Street,

New Paltz, New York. At all times relevant to the allegations herein, Defendant Chestnut Marts

was the operator of USTs at Facility 4, described below.

       12.     Defendant CPD Energy is a New York corporation located at 536 Main Street, New

Paltz, New York. At all times relevant to the allegations herein, Defendant CPD Energy was the

owner and/or operator of USTs at Facilities 6, 7 and 8, described below. Defendant CPD Energy,

or its subsidiaries or affiliates, was also the owner and/or operator of the USTs located at Facilities

15, 16, 17, 18, 19, and/or 20, at all times relevant to the allegations herein.

       13.     Defendant CPD NY is a New York corporation located at 536 Main Street, New

Paltz, New York. At all times relevant to the allegations herein, Defendant CPD NY was the

owner and/or operator of USTs at Facilities 1, 2, and 3, described below. Defendant CPD Energy,

or its subsidiaries or affiliates, was also the owner and/or operator of the USTs located at Facilities

15, 16, 17, 18, 19, and/or 20, at all times relevant to the allegations herein.

       14.     Defendant Greenburgh Food Mart is a New York corporation located at 536 Main

Street, New Paltz, New York.         At all times relevant to the allegations herein, Defendant

Greenburgh Food Mart was the owner of USTs at Facility 6, described below.

       15.     Defendant Middletown Food Mart is a New York corporation located at 536 Main

Street, New Paltz, New York.         At all times relevant to the allegations herein, Defendant

Middletown Food Mart was the operator of USTs at Facility 7, described below.




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       16.        Defendant NJ Energy Corp. is a New York corporation located at 536 Main Street,

New Paltz, New York. At all times relevant to the allegations herein, Defendant NJ Energy Corp.

was the owner and/or operator of USTs at Facilities 10, 11, 12, 13, and 14 described below.

                      STATUTORY AND REGULATORY BACKGROUND

       17.        Petroleum products such as gasoline contain volatile and semi-volatile compounds

that pose substantial threats to human health. For example, benzene is a known carcinogen; can

cause drowsiness, dizziness, headaches, and unconsciousness when inhaled; and can have severe

adverse effects on the central nervous system, including death, when ingested. See EPA, Hazard

Summary: Benzene, https://www.epa.gov/sites/production/files/2016-09/documents/benzene.pdf

(last visited Sept. 6, 2018). Similarly, inhalation of ethyl benzene may result in respiratory

problems, such as chest constriction, as well as neurological problems, such as dizziness, while

long-term exposure has the potential to damage the liver, kidneys, eyes, and central nervous

system. Id. The central nervous system is also adversely affected by exposure to toluene: short-

term exposure to even low levels of toluene may cause fatigue, sleepiness, headaches, and nausea,

while chronic exposure has the potential to cause spasms, tremors, and impairment of basic

functions such as speech, hearing, vision, memory, and coordination. See EPA, Hazard Summary:

Toluene, https://www.epa.gov/sites/production/files/2016-09/documents/toluene.pdf (last visited

Sept. 8, 2018).

       18.        Given these health risks, preventing spills and leaks from USTs that are used to

store petroleum products is of the utmost importance. This is particularly true given that petroleum

products can move rapidly through the ground and into groundwater, and when they enter the

water supply, they can cause the significant short-term and long-term health effects described

above. Even a small gasoline leak of one drop per second from a UST can, over the course of one


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year, result in the release of about 400 gallons of gasoline into the nearby groundwater. See EPA,

Source Water Protection Practices Bulletin: Managing Underground Storage Tanks to Prevent

Contamination of Drinking Water (July 2001). Moreover, petroleum vapors may intrude into

nearby basements, sumps, and other underground structures, and can be hazardous when inhaled.

Finally, both petroleum products themselves, and the vapors they release, represent fire and

explosion hazards when they are not properly contained and monitored.

       19.     In 1984, in order to regulate and monitor the use of USTs, Congress enacted

Subtitle I of RCRA, 42 U.S.C. §§ 6691-6991m. Subtitle I defines a UST as “any one or

combination of tanks (including underground pipes connected thereto) which is used to contain an

accumulation of regulated substances, and the volume of which (including the volume of the

underground pipes connected thereto) is 10 per centum or more beneath the surface of the ground.”

42 U.S.C. § 6991(1). Petroleum is a “regulated substance.” 42 U.S.C. § 6991(2)(B).

       20.     Subtitle I directs the Administrator of EPA to promulgate regulations that place

certain obligations on the owners and operators of USTs. An “owner” is defined as “any person

who owns an underground storage tank used for the storage, use, or dispensing of regulated

substances.” 42 U.S.C. § 6991(4). An “operator” is defined as “any person in control of, or having

responsibility for, the daily operation of the underground storage tank.” 42 U.S.C. § 6991(3).

       21.     Among other things, Subtitle I directs the Administrator of EPA to promulgate

regulations establishing:

               a. “requirements for maintaining a leak detection system, an inventory control

                   system together with tank testing, or a comparable system or method designed

                   to identify releases in a manner consistent with the protection of human health

                   and the environment,” 42 U.S.C. § 6991b(c)(1);


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              b. “requirements for maintaining records of any monitoring or leak detection

                 system or inventory control system or tank testing or comparable system,” 42

                 U.S.C. § 6991b(c)(2);

              c. “requirements for the closure of tanks to prevent future releases of regulated

                 substances into the environment,” 42 U.S.C. § 6991b(c)(5); and

              d. “performance standards for underground storage tanks brought into use on or

                 after the effective date of such standards,” 42 U.S.C. § 6991b(e).

       22.    Pursuant to Subtitle I, the Administrator of EPA has promulgated regulations that

are codified at 40 C.F.R. Part 280. These regulations establish requirements for owners and

operators of USTs concerning, among other things:

              a. methods of release detection for tanks and pressurized piping, see 40 C.F.R.

                 §§ 280.40-280.45;

              b. maintenance of records regarding compliance with release detection

                 requirements, see 40 C.F.R. §§ 280.34(b)(4), (c) and 280.45(a)-(c);

              c. operation and maintenance of corrosion protection systems for steel UST

                 systems, see 40 C.F.R. § 280.31(a)-(c), and maintenance of records regarding

                 compliance with corrosion protection requirements, see 40 C.F.R.

                 § 280.31(d)(1) & (2);

              d. operation, monitoring, capping and securing, and reporting for USTs that are

                 either temporarily out of service or permanently closed, see 40 C.F.R. §§

                 280.70-280.74;




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               e. reporting, investigation, and confirmation of suspected releases of regulated

                   substances, and reporting of unusual operating conditions, see 40 C.F.R.

                   §§ 280.50-280.53;

               f. performance standards for UST systems installed after December 22, 1998 (i.e.,

                   “new” UST systems), see 40 C.F.R. § 280.20; and

               g. upgrade requirements for UST systems installed prior to December 22, 1998

                   (i.e., “existing” UST systems), see 40 C.F.R. § 280.21.

       23.     Subtitle I and its related regulations also establish “financial responsibility”

requirements that direct owners and operators to maintain “insurance, guarantee, surety bond, letter

of credit, qualification as a self-insurer or any other method satisfactory to the Administrator,” 42

U.S.C. § 6991b(d), for the purpose of “taking corrective action and for compensating third parties

for bodily injury and property damage caused by accidental releases arising from the operation of”

their USTs, 40 C.F.R. § 280.93(a). Owners and operators of USTs that are located at petroleum

marketing facilities (such as service stations), or that handle an average of more than 10,000

gallons of petroleum per month, must maintain insurance of at least $1 million. 42 C.F.R.

§ 280.93(a)(1). Moreover, owners and operators of 1 to 100 USTs must maintain insurance of at

least $1 million, 40 C.F.R. § 280.93(b)(1), and owners and operators of 101 or more USTs must

maintain insurance of at least $2 million, 40 C.F.R. § 280.93(b)(2).

       24.     Subtitle I requires owners and operators of USTs to “furnish information relating

to such tanks, their associated equipment, [or] their contents” to “any officer, employee or

representative of the [EPA]” for, among other purposes, “taking any corrective action” or

“enforcing the provisions” of Subtitle I. 42 U.S.C. § 6991d(a). Moreover, owners and operators

must, “at all reasonable times,” permit EPA officers “to have access to, and to copy all records


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relating to such tanks and permit such officer to have access for corrective action.” Id. EPA

officers are further authorized to physically access locations where USTs are located; inspect and

obtain samples of the regulated substances stored in the USTs; monitor and test both the USTs and

the “associated equipment, contents, or surrounding soils, air, surface water or ground water”; and

“take corrective action.” 42 U.S.C. § 6991d(a)(1)-(4).

       25.     Where the Administrator of EPA determines that a person has violated any of the

requirements of Subtitle I, he “may commence a civil action in the United States district court in

which the violation occurred for appropriate relief, including a temporary or permanent

injunction.” 42 U.S.C. § 6991e(a)(1).

       26.     Additionally, Subtitle I subjects owners or operators who, among other things,

“fail[] to comply with . . . any requirement or standard promulgated by the Administrator under

section 6991b of this title” to a civil penalty of up to $16,000 for each tank for each day of violation

for violations occurring after January 12, 2009, through November 2, 2015.                  42 U.S.C.

§ 6991e(d)(2); 40 C.F.R. Part 19. For violations that occur after November 2, 2015, and where

penalties are assessed on or after January 15, 2018, the statutory maximum civil penalty is

increased to $23,426. See 83 Fed. Reg. 1190, 1193 (Jan. 10, 2018); 40 C.F.R. § 19.4.

              DEFENDANTS’ VIOLATIONS OF SUBTITLE I OF RCRA AND
                           RELATED REGULATIONS

       27.     Between June 2012 and March 2013, EPA inspectors conducted various on-site

inspections of USTs owned and operated by the Defendants. In addition, between April 2012 and

June 2014, EPA sent five Information Response Letters (“Information Requests”) to Defendants

requesting additional information concerning the USTs at the Facilities, and Defendants responded

to each of those Information Requests. EPA also reviewed New York State Department of

Environmental Conservation (“NYSDEC”) Petroleum Bulk Storage (“PBS”) registration

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certificates for each of the Facilities. Based on its on-site inspections, review of Defendants’

responses to the IRLs, and review of the NYSDEC PBS registration certificates, EPA has

identified numerous violations of Subtitle I of RCRA and its related regulations at each of the

Facilities.

        28.    Collectively, Defendants own and/or operate USTs at more than 100 locations in

the Southern District of New York and neighboring districts, including the twenty Facilities

discussed below.

        29.    Defendants, along with certain subsidiaries and affiliates, including but not limited

to Gunks Holding Corp. and NECG Holding Corp., are alter egos of one another. For example,

they share the same corporate headquarters, are staffed by the same personnel (including corporate

executives and personnel who are tasked with regulatory compliance), and have responded on one

another’s behalf to written inquiries from EPA concerning the twenty Facilities discussed below.

        30.    Consistent with their status as alter egos, Defendants and these subsidiaries and

affiliates engaged in similar patterns of non-compliance with Subtitle I of RCRA and its related

regulations. For example, they acquired several of the Facilities in January 2011 and April 2012,

but failed to promptly ensure compliance with their federal statutory and regulatory UST

obligations following these acquisitions. The similarities in the nature and timing of the violations

stems from the fact that all of the Facilities discussed below, regardless of the entities identified as

their nominal owners or operators, exist within the same corporate structure and are overseen by

the same personnel, who failed to ensure statutory and regulatory compliance in the same ways.

        31.    Accordingly, each Defendant is responsible for the violations of the other

Defendants identified therein, and is responsible for the violations of any affiliates or subsidiaries

similarly acting as alter egos.


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       32.     As detailed below, Defendants violated Subtitle I of RCRA and its related

regulations at each of the Facilities by one or more of the following: (i) failing to perform release

(i.e., leak or spill) detection; (ii) failing to maintain and provide records of release detection

monitoring; (iii) failing to operate corrosion protection systems (including inspecting and testing)

and failing to maintain and provide records of corrosion protection monitoring; (iv) failing to cap

and secure USTs that were temporarily closed; (v) failing to perform release detection for USTs

that were temporarily closed; (vi) failing to report suspected releases or unusual operating

conditions for USTs; (vii) failing to conduct release investigations and failing to confirm suspected

releases or unusual operating conditions; and (vii) failing to establish “financial responsibility”—

i.e., failing to maintain the required insurance policies sufficient to take corrective action and

compensate third parties for bodily injury and property damage caused by accidental releases

arising from the operation of their USTs.

Facility 1

       33.     “Facility 1” is a Mobil service station located at 1663 Route 9, Wappinger’s Falls,

New York. Defendant CPD NY was the owner and operator of the USTs located at Facility 1 at

all times relevant to the allegations herein.

       34.     CPD NY acquired the Facility and USTs on January 13, 2011. As of the date of

the EPA inspection on March 7, one of the USTs at this location, Tank 500, is a waste oil tank that

CPD NY had not used since acquiring Facility 1.

       35.     During an EPA inspection on March 7, 2013, an EPA inspector confirmed that Tank

500 was temporarily closed (i.e., not in use), but that it nonetheless contained more than eight

inches of waste oil. Moreover, release detection was not being performed for Tank 500. An EPA

inspector requested release detection records for Tank 500 for the twelve-month period prior to


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the inspection, but the CPD NY representative present during the inspection did not provide such

records, nor did CPD NY provide such records in response to EPA’s Information Requests.

       36.      From January 13, 2011, through March 7, 2013, CPD NY failed to perform release

detection for Tank 500, a temporarily closed waste oil tank.

Facility 2

       37.      “Facility 2” is a Mobil service station located at 290 Route 211 East, Middletown,

New York. Defendant CPD NY has been the owner of the USTs located at Facility 2, and

Defendant CPD Energy was the operator of the USTs located at Facility 2 at all times relevant to

the allegations herein.

       38.      From January 13, 2011 (the date CPD NY acquired ownership of the USTs at this

Facility), through December 16, 2012, CPD NY and CPD Energy failed to perform release

detection monitoring for Tanks 1, 2, and 3. Specifically, an inspection on August 28, 2012, showed

that the automated tank gauging console lacked a Continuous Statistical Leak Detection (CSLD)

chip that would have allowed it to perform release detection. In response to EPA’s Information

Requests, Defendants did not provide evidence that release detection monitoring for Tanks 1, 2,

or 3 was performed until December 16, 2012.

       39.      During an inspection on August 28, 2012, an EPA inspector requested release

detection records for the twelve-month period prior to the inspection for a waste oil tank at the

Facility, Tank 6. The Chestnut representative present during the inspection provided such records

for only three of the prior 12 months. No release detection records were provided for Tank 6 for

September 2011, or for December 2011 through July 2012. CPD Energy’s response to EPA’s

Information Request acknowledged that it could not provide release detection records for these

time periods.


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        40.     From September 1, 2011, through September 30, 2011, and from December 1,

2011, through July 31, 2012, CPD NY and CPD Energy failed to maintain release detection records

for Tank 6.

Facility 3

        41.     “Facility 3” is a Mobil service station located at 407 White Plains Road,

Eastchester, New York. Defendant CPD NY was the owner of the USTs located at Facility 5 at

all times relevant to the allegations herein.

        42.     During an inspection on February 11, 2013, an EPA inspector requested release

detection records for the twelve-month period prior to the inspection. Defendant CPD NY failed

to provide release detection records for two USTs at Facility 3, Tanks 300 and 400, for the months

of April 2012 through October 2012. CPD NY also failed to provide release detection records for

those USTs during that time period in response to EPA’s Information Requests.

        43.     From April 1, 2012, through October 31, 2012, CPD NY failed to maintain release

detection records for Tanks 300 and 400.

Facility 4

        44.     “Facility 4” is a Mobil service station located at 891 Saw Mill River Road, Ardsley,

New York. Defendants Chestnut and Chestnut Marts were the operators of the USTs located at

Facility 4 at all times relevant to the allegations herein.

        45.     During an inspection on September 6, 2012, an EPA inspector reviewed release

detection records and a copy of Chestnut’s contractor’s annual compliance inspection report.

These records indicated that the interstitial sensor in Tank 4 was in “alarm mode,” meaning that

there was a potential leak, beginning as early as July 30, 2011. However, defendants Chestnut and

Chestnut Marts did not report this potential leak within twenty-four hours, and also did not


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investigate the potential leak within seven days. Release detection records subsequently provided

by defendant CPD in response to EPA’s Information Requests further reflected that the sensor was

in alarm mode on various dates between December 2011 and February 2012.

        46.     On February 20, 2012, Chestnut’s contractor notified the Westchester County

Department of Health of an unusual operating condition and suspected release from Tank 4. On

February 27, 2012, Chestnut’s contractor tested Tank 4 and determined that diesel fuel had leaked

into the “interstitial space,” i.e., the space between the inner and outer walls of the tank. The

contractor removed the diesel fuel stored in Tank 4 and temporarily closed the tank. The tank was

ultimately repaired in November 2012.

        47.     From August 1, 2011 (the date that the interstitial sensor was first in alarm mode)

through February 20, 2012 (the date the alarm condition of Tank 4 was reported), Chestnut and

Chestnut Marts failed to perform adequate release detection for Tank 4.

        48.     From August 1, 2011, through February 20, 2012, Chestnut and Chestnut Marts

failed to report a suspected release or unusual operating condition for Tank 4.

        49.     From August 7, 2011 through February 27, 2012, Chestnut and Chestnut Marts

failed to immediately investigate and confirm all suspected releases within 7 days.

Facility 5

        50.     “Facility 5” is a Chestnut Marts service station located at 170 Saw Mill River Road,

Mount Pleasant, New York. Defendant Chestnut was the owner and operator of the USTs located

at Facility 5 at all times relevant to the allegations herein.

        51.     During an inspection on September 6, 2012, an EPA inspector observed that this

Facility (which was not operational at the time) lacked power, and therefore was incapable of

meeting either release detection or corrosion protection requirements.


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       52.     Two of the USTs at Facility 5, Tank 3 (for waste oil) and Tank 7 (for diesel fuel),

were constructed of bare steel.      These tanks had been closed by the Westchester County

Department of Health on February 27, 2007. On the date of the EPA inspection, however, Tank 7

contained more than one inch of diesel fuel. Moreover, Tank 7’s lines, pumps, manways, and

other ancillary equipment were not capped and secured.

       53.     On October 11, 2012, Chestnut’s contractor pumped out Tank 7. On November 7,

2013, both Tank 3 and Tank 7 were removed from the Facility.

       54.     From September 7, 2011, through October 11, 2012, Chestnut failed to provide

release detection for Tank 7, a temporarily closed tank.

       55.     From September 7, 2011, through November 7, 2013, Chestnut failed both to cap

and secure Tank 7.

       56.     From September 6, 2012, through November 7, 2013, Chestnut failed to operate

(including inspecting and testing) and maintain corrosion protection for Tanks 3 and 7.

Facility 6

       57.     “Facility 6” is a Shell service station located at 425 Dobbs Ferry Road, Greenburgh,

New York. Defendants Chestnut and Greenburgh Food Mart were the owners of the USTs located

at Facility 6, and defendant CPD Energy was the operator of the USTs located at Facility 6 at all

times relevant to the allegations herein.

       58.     During an inspection on February 6, 2013, an EPA inspector requested release

detection records for the twelve-month period prior to the inspection for each of the four USTs at

the Facility. No such records were provided for any of the USTs—Tanks 1, 2, 3, and 4—for

February 2012. In addition, no release detection records were provided for March 2012 for Tanks




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1 and 2. CPD Energy also failed to provide release detection records for those USTs during those

time periods in response to EPA’s Information Requests.

       59.     From February 1, 2012, through February 28, 2012, Chestnut, Greenburgh Food

Mart, and CPD Energy failed to maintain release detection records for Tanks 1, 2, 3, and 4.

       60.     From March 1, 2012, through March 31, 2012, Chestnut, Greenburgh Food Mart,

and CPD Energy failed to maintain release detection records for Tanks 1 and 2.

Facility 7

       61.     “Facility 7” is a Middletown Food Mart located at 176 West Main Street,

Middletown, New York. Defendant CPD Energy was the owner of the USTs located at Facility

7, and defendant Middletown was the operator of the USTs located at Facility 7 at all times relevant

to the allegations herein.

       62.     During an inspection on August 28, 2012, EPA inspector reviewed release detection

records which indicated that the interstitial sensor in Tank 1 was in alarm mode as of December

19, 2011. The alarm was neither reported within twenty-four hours nor investigated within seven

days. On August 9, 2012, CPD’s contractor repaired the sensor.

       63.     From December 20, 2011 (i.e., within twenty-four hours of the sensor going into

alarm mode), through August 9, 2012, CPD Energy and Middletown failed to report Tank 1’s

suspected releases or unusual operating condition to EPA.

       64.     From December 26, 2011 (i.e., within seven days of the sensor going into alarm

mode), through August 9, 2012, CPD Energy and Middletown failed to conduct release

investigation and confirmation of Tank 1’s suspected release or unusual operating condition.




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Facility 8

        65.     “Facility 8” is a Chestnut Mart of Gardiner service station located at 604 Route 208,

Gardiner, New York. Defendants Chestnut and Chestnut Mart of Gardiner were the owners, and

defendants Chestnut and CPD Energy were the operators, of the USTs located at Facility 8 at all

times relevant to the allegations herein.

        66.     During an inspection on August 8, 2012, an EPA inspector requested release

detection records for the twelve-month period prior to the inspection for each of the three USTs at

the Facility. No such records were provided for any of the USTs for the months of March 2012

and May 2012. Defendant CPD also failed to provide release detection records for those USTs

during those months in response to EPA’s Information Requests.

        67.     From at least March 13, 2012, through May 31, 2012, Chestnut, Chestnut Mart of

Gardiner, and CPD Energy failed to maintain release detection records for Tanks 1, 2, and 3.

Facility 9

        68.     “Facility 9” is a Shell/Chestnut Petroleum service station located at 75 Dutch Hill

Road, Orangeburg, New York. Defendant Chestnut was the owner and operator of the USTs

located at Facility 9 at all times relevant to the allegations herein.

        69.     During the inspection on March 13, 2013, an EPA inspector requested release

detection records for the twelve-month period prior to the inspection for the pressurized piping

associated with the USTs at the Facility. No such records were provided for the pressurized piping

for March 13, 2012 through May 31, 2012. Defendant CPD also failed to provide release detection

records for the pressurized piping during that time period in response to EPA’s Information

Requests.




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        70.     Further, an EPA inspector observed that the USTs at Facility 9 were temporarily

closed. Although a representative from CPD NY present during the inspection stated that the USTs

were temporarily closed in August 2012, CPD’s records reflect that the USTs were temporarily

closed in June 2012. Under either scenario, however, the USTs’ tank fill ports were not secured

within 90 days of their temporary closure, i.e., no later than October 1, 2012.

        71.     From at least October 1, 2012 through March 13, 2013, Chestnut failed to cap and

secure Tanks 001, 0002A, and 0002B.

Facility 10

        72.     “Facility 10” is an Exxon service station located at 19 East 33rd Street, Paterson,

New Jersey. Defendant NJ Energy was the owner of the USTs located at Facility 10 at all times

relevant to the allegations herein.

        73.     During an inspection on October 5, 2012, an EPA inspector requested release

detection records for the twelve-month period prior to the inspection for the two USTs at the

Facility, Tanks E5 and E6. No such records were provided for either of the USTs for October

2011 through June 2012. Defendant NJ Energy also failed to provide release detection records for

those USTs during those time periods in response to EPA’s Information Requests.

        74.     From April 5, 2012 (the date that NJ Energy acquired the USTs at Facility 10),

through June 30, 2012, NJ Energy failed to maintain release detection records for Tanks E5 and

E6.

Facility 11

        75.     “Facility 11” is an Exxon service station located at 1400 Route 9 South, Old Bridge,

New Jersey. Defendant NJ Energy was the owner and operator of the USTs located at Facility 11

at all times relevant to the allegations herein.


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        76.     During an inspection on October 10, 2012, an EPA inspector requested release

detection records for the twelve-month period prior to the inspection for each of the four USTs at

the Facility, Tanks E1, E2, E3, and E4. No such records were provided for any of the USTs for

October 2011 through September 2012. Defendant NJ Energy also failed to provide release

detection records for those USTs during those time periods in response to EPA’s Information

Requests.

        77.     From April 5, 2012 (the date that NJ Energy acquired the USTs at Facility 11),

through September 30, 2012, NJ Energy failed to maintain release detection records for Tanks E1,

E2, E3, and E4.

Facility 12

        78.     “Facility 12” is an Exxon service station located at 9 St. George Avenue West,

Linden, New Jersey. Defendant NJ Energy has been the owner and operator of the USTs located

at Facility 12 at all times relevant to the allegations herein.

        79.     The three USTs at this Facility were temporarily closed at the time NJ Energy

acquired the facility on June 19, 2012, and remained closed at the time of the EPA’s inspection of

the Facility on October 3, 2012. Despite being temporarily closed, all three USTs at this facility

still contained significant amounts of petroleum, and release detection monitoring was not being

performed. Leak detection tests on the USTs at this Facility did not recommence until November

1, 2012.

        80.     From June 19, 2012, through November 1, 2012, NJ Energy failed to conduct

release detection for temporarily closed tanks, E1, E2 and E3.




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Facility 13

        81.     “Facility 13” is an Exxon service station located at 468 Route 17N, Hasbrouck

Heights, New Jersey. Defendant NJ Energy was the owner and operator of the USTs located at

Facility 13 at all times relevant to the allegations herein.

        82.     The three USTs at this Facility, Tanks E1, E2, and E3, were temporarily closed at

the time NJ Energy acquired the facility in April 2012, and remained closed at the time of the

EPA’s inspection of the Facility on October 8, 2012. Despite being temporarily closed, Tank E1

contained more than one inch of petroleum, and therefore release detection was required for that

tank. However, release detection monitoring was not being performed. Defendants did not

provide any information in response to EPA’s Information Requests establishing that Tank E1 was

pumped clean of petroleum at any time following EPA’s October 2012 inspection.

        83.     During EPA’s October 8, 2012, inspection, EPA also requested release detection

records for the twelve-month period prior to the inspection for each of the three USTs at Facility

13, but no such records were provided to EPA, and CPD Energy’s representative acknowledged

that release detection was not being performed during the requested time period.

        84.     In its February 26, 2014, response to EPA’s January 30, 2014, Information Request,

CPD Energy acknowledged that the tanks at Facility 13 were temporarily closed on September 9,

2010 and stated that the tanks did not return to service until July 2013.

        85.     In its February 26, 2014, response to EPA’s January 30, 2014, Information Request,

NJ Energy also failed to provide any evidence that release detection was provided for the

temporarily closed tank (Tank E1) for the period April 5, 2012, through July 2013, when Tank E1

was brought back into service.




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Facility 14

        86.     “Facility 14” is an Exxon service station located at 470 Route 1 North, Edison, New

Jersey. Defendant NJ Energy was the owner and operator of the USTs located at Facility 14 at all

times relevant to the allegations herein.

        87.     During an inspection on October 3, 2012, an EPA inspector requested release

detection records for the twelve-month period prior to the inspection for each of the three USTs at

the Facility, but no such records were provided. Defendant NJ Energy’s subsequent responses on

January 10, 2013, and February 25, 2014, to EPA’s Information Requests, failed to provide such

records for Tanks E001, E002 and E003 for May 2012; and failed to provide such records for

Tanks E001 and E003 for the period from July 1, 2012, through August 31, 2012.

Facility 15

        88.     “Facility 15” is a Mobil service station located at 6885 Rt. 9, Rhinebeck, New York.

Defendants, or their subsidiaries or affiliates, were the owners and operators of the USTs located

at Facility 15 at all times relevant to the allegations herein.

        89.     From April 1, 2013 to March 13, 2014, Defendants failed to maintain insurance

coverage sufficient to take corrective action and to compensate third parties for bodily injury and

property damage caused by accidental releases arising from the operation of the USTs located at

Facility 15, in violation of RCRA’s financial responsibility provisions.

Facility 16

        90.     “Facility 16” is a Getty service station located at 1372 Union Street, Schenectady,

New York. Defendants, or their subsidiaries or affiliates, were the owners and operators of the

USTs located at Facility 16 at all times relevant to the allegations herein.




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        91.     From May 1, 2012, to March 13, 2014, Defendants failed to maintain insurance

coverage sufficient to take corrective action and to compensate third parties for bodily injury and

property damage caused by accidental releases arising from the operation of the USTs located at

Facility 16, in violation of RCRA’s financial responsibility provisions.

Facility 17

        92.     “Facility 17” is a Shell service station located at 3083 Webster Ave, Bronx, New

York. Defendants, or their subsidiaries or affiliates, were the owners and operators of the USTs

located at Facility 17 at all times relevant to the allegations herein.

        93.     From May 1, 2012, to March 13, 2014, Defendants failed to maintain insurance

coverage sufficient to take corrective action and to compensate third parties for bodily injury and

property damage caused by accidental releases arising from the operation of the USTs located at

Facility 17, in violation of RCRA’s financial responsibility provisions.

Facility 18

        94.     “Facility 18” is a Mobile service station located on Route 22, Wassaic, New York.

Defendants, or their subsidiaries or affiliates, were the owners and operators of the USTs located

at Facility 18 at all times relevant to the allegations herein.

        95.     From November 15, 2013, to March 13, 2014, Defendants failed to maintain

insurance coverage sufficient to take corrective action and to compensate third parties for bodily

injury and property damage caused by accidental releases arising from the operation of the USTs

located at Facility 18, in violation of RCRA’s financial responsibility provisions.




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Facility 19

       96.      “Facility 19” is a Shell service station located at 340 Violet Ave, Poughkeepsie,

New York. Defendants, or their subsidiaries or affiliates, were the owners and operators of the

USTs located at Facility 19 at all times relevant to the allegations herein.

       97.     From July 27, 2011, to March 13, 2014, Defendants failed to maintain insurance

coverage sufficient to take corrective action and to compensate third parties for bodily injury and

property damage caused by accidental releases arising from the operation of the USTs located at

Facility 19, in violation of RCRA’s financial responsibility provisions.

Facility 20

       98.     “Facility 20” is Mobil service station located at 381 Knollwood Road, Greenburgh,

New York. Defendants, or their subsidiaries or affiliates, were the owners and operators of the

USTs located at Facility 20 at all times relevant to the allegations herein.

       99.      From January 13, 2011, to March 13, 2014, Defendants failed to maintain

insurance coverage sufficient to take corrective action and to compensate third parties for bodily

injury and property damage caused by accidental releases arising from the operation of the USTs

located at Facility 20, in violation of RCRA’s financial responsibility provisions.

                                 FIRST CLAIM FOR RELIEF

Failure to Maintain Release Detection Records for USTs (Tanks and/or Pressurized Piping)
             42 U.S.C. § 6991b(c)(2); 40 C.F.R. §§ 280.34(b) and (c), 280.45(b)

       100.    Owners and operators of USTs are required to maintain records reflecting their

recent compliance with release detection requirements, 40 C.F.R. § 280.34(b), and have such

records available for inspection by EPA upon request, 40 C.F.R. § 280.34(c). Such records must

be maintained for at least one year. 40 C.F.R. § 280.45(b).



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       101.    Defendants violated 40 C.F.R. §§ 280.34(b), 280.34(c), and 280.45(b) by failing to

maintain release detection records for USTs located at Facilities 2, 3, 6, 8, 9, 10, 11, and 14, as

detailed above.

       102.    Pursuant to Section 9006(a)(1) of RCRA, 42 U.S.C. § 6991e(a)(1), the Court should

issue an order enjoining Defendants to comply with the relevant statutory and regulatory

requirements concerning maintenance of release detection records, and to perform any necessary

remedial actions that may be necessary in light of their violations. Additionally, pursuant to

Section 9006(d)(2) of RCRA, 42 U.S.C. § 6991e(d)(2), and 40 C.F.R. § 19.4, the Court should

enter civil penalties against Defendants in an amount not to exceed $16,000 per tank for each day

of the violations identified above.

                                SECOND CLAIM FOR RELIEF

                  Failure to Perform Release Detection Monitoring for USTs
                               (Tanks and/or Pressurized Piping)
                  42 U.S.C. § 6991b(c)(1); 40 C.F.R. §§ 280.41(a), 280.41(b)(1)

       103.    Owners and operators of USTs containing petroleum must monitor such USTs at

least every 30 days using one of the methods described in 40 C.F.R. § 280.43(d)-(h). 40 C.F.R.

§ 280.41(a). Similarly, owners and operators must monitor the pressurized piping associated with

their UST systems. 40 C.F.R. § 280.41(b)(1).

       104.    Defendants violated 40 C.F.R. § 280.41(a) by failing to perform release detection

monitoring for USTs located at Facilities 2 and 4, as detailed above.

       105.    Pursuant to Section 9006(a)(1) of RCRA, 42 U.S.C. § 6991e(a)(1), the Court should

issue an order enjoining Defendants to comply with the relevant statutory and regulatory

requirements concerning release detection monitoring, and to perform any necessary remedial

actions that may be necessary in light of their violations. Additionally, pursuant to Section


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9006(d)(2) of RCRA, 42 U.S.C. § 6991e(d)(2), and 40 C.F.R. § 19.4, the Court should enter civil

penalties against Defendants in an amount not to exceed $16,000 per tank for each day of the

violations identified above.

                               THIRD CLAIM FOR RELIEF

      Failure to Perform Release Detection Monitoring for Temporarily Closed USTs
                       (42 U.S.C. § 6991b(c)(1); 40 C.F.R. 280.70(a))

       106.    Owners and operators of USTs that are temporarily closed for three months or more

must continue to perform release detection monitoring if the temporarily closed USTs contain

more than one inch of liquid residue. 40 C.F.R. § 280.70(a).

       107.    Defendants Chestnut and CPD NY violated 40 C.F.R. § 280.70(a) by failing to

perform release detection monitoring for temporarily closed USTs at Facilities 1, 5, 12 and 13 as

detailed above.

       108.    Pursuant to Section 9006(a)(1) of RCRA, 42 U.S.C. § 6991e(a)(1), the Court should

issue an order enjoining Defendants to comply with the relevant statutory and regulatory

requirements concerning release detection monitoring, and to perform any necessary remedial

actions that may be necessary in light of their violations. Additionally, pursuant to Section

9006(d)(2) of RCRA, 42 U.S.C. § 6991e(d)(2), and 40 C.F.R. § 19.4, the Court should enter civil

penalties against Defendants in an amount not to exceed $16,000 per tank for each day of the

violations identified above.




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                               FOURTH CLAIM FOR RELIEF

                    Failure to Cap and Secure Temporarily Closed USTs
                     (42 U.S.C. § 6991b(c)(5); 40 C.F.R. § 280.70(b)(2))

       109.    Owners and operators of USTs that are temporarily closed for more than three

months must cap and secure all lines, pumps, manways, and ancillary equipment associated with

such USTs. 40 C.F.R. § 280.70(b)(2).

       110.    Defendants violated 40 C.F.R. § 280.70(b)(2) by failing to cap and secure lines,

pumps, manways, and ancillary equipment associated with USTs located at Facilities 5 and 9, as

detailed above.

       111.    Pursuant to Section 9006(a)(1) of RCRA, 42 U.S.C. § 6991e(a)(1), the Court should

issue an order enjoining Defendants to comply with the relevant statutory and regulatory

requirements concerning capping and securing temporarily closed USTs, and to perform any

necessary remedial actions that may be necessary in light of their violations. Additionally,

pursuant to Section 9006(d)(2) of RCRA, 42 U.S.C. § 6991e(d)(2), and 40 C.F.R. § 19.4, the Court

should enter civil penalties against Defendants in an amount not to exceed $16,000 per tank for

each day of the violations identified above.

                                 FIFTH CLAIM FOR RELIEF

          Failure to Report Suspected Releases or Unusual Operating Conditions
                       (42 U.S.C. § 6991b(c)(3); 40 C.F.R. § 280.50)

       112.    Owners and operators of USTs must report suspected releases or unusual operating

conditions to the implementing agency (New York State in this instance) within twenty-four hours

of learning of such suspected releases or unusual operating conditions. 40 C.F.R. § 280.50. This

includes, among other things, reporting liquid in the interstitial space of a UST system, see 40




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C.F.R. § 280.50(b), and reporting the results of an investigation into an alarm triggered by a release

detection monitoring system, see 40 C.F.R. § 280.50(c).

       113.    Defendants violated 40 C.F.R. § 280.50 by failing to report a suspected release and

unusual operating conditions for USTs located at Facilities 4 and 7, as detailed above.

       114.    Pursuant to Section 9006(a)(1) of RCRA, 42 U.S.C. § 6991e(a)(1), the Court should

issue an order enjoining Defendants to comply with the relevant statutory and regulatory

requirements concerning reporting of suspected releases and unusual operating conditions, and to

perform any necessary remedial actions that may be necessary in light of their violations.

Additionally, pursuant to Section 9006(d)(2) of RCRA, 42 U.S.C. § 6991e(d)(2), and 40 C.F.R.

§ 19.4, the Court should enter civil penalties against Defendants in an amount not to exceed

$16,000 per tank for each day of the violations identified above.

                                  SIXTH CLAIM FOR RELIEF

                            Failure to Investigate Suspected Releases
                          (42 U.S.C. § 6991b(c)(3); 40 C.F.R. § 280.52)

       115.    Owners and operators of USTs must immediately investigate and confirm

suspected releases within seven days of learning of such suspected releases or unusual operating

conditions. 40 C.F.R. § 280.52.

       116.    Defendants violated 40 C.F.R. § 280.52 by failing to investigate and confirm a

suspected release and unusual operating conditions for USTs located at Facilities 4 and 7, as

detailed above.

       117.    Pursuant to Section 9006(a)(1) of RCRA, 42 U.S.C. § 6991e(a)(1), the Court should

issue an order enjoining Defendants to comply with the relevant statutory and regulatory

requirements concerning investigation and confirmation of suspected releases and to perform any

necessary remedial actions that may be necessary in light of their violations. Additionally,

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pursuant to Section 9006(d)(2) of RCRA, 42 U.S.C. § 6991e(d)(2), and 40 C.F.R. § 19.4, the Court

should enter civil penalties against Defendants in an amount not to exceed $16,000 per tank for

each day of the violations identified above.

                              SEVENTH CLAIM FOR RELIEF

                 Failure to Operate (including Inspecting and Testing) and
                         Maintain Records of Corrosion Protection
                 (42 U.S.C. § 6991b(c)(2); 40 C.F.R. §§ 280.31(d), 280.70(a))

       118.    Owners and operators of USTs that are temporarily closed for three months or more

must continue operation of their corrosion protection systems. 40 C.F.R. § 280.70(a). Moreover,

owners and operators must maintain records of corrosion protection testing. 40 C.F.R. § 280.31(d).

       119.    Defendants violated 40 C.F.R. §§ 280.31(d) and 280.70(a) by failing to operate

(including inspect and test) and maintain corrosion protection and maintain corrosion protection

records for USTs located at Facility 5, as detailed above.

       120.    Pursuant to Section 9006(a)(1) of RCRA, 42 U.S.C. § 6991e(a)(1), the Court should

issue an order enjoining Defendants to comply with the relevant statutory and regulatory

requirements concerning maintenance of records regarding corrosion protection testing, and to

perform any necessary remedial actions that may be necessary in light of their violations.

Additionally, pursuant to Section 9006(d)(2) of RCRA, 42 U.S.C. § 6991e(d)(2), and 40 C.F.R.

§ 19.4, the Court should enter civil penalties against Defendants in an amount not to exceed

$16,000 per tank for each day of the violations identified above.

                               EIGHTH CLAIM FOR RELIEF

                   Failure to Meet Financial Responsibility Requirements
                        (42 U.S.C. § 6991b(c)(6); 40 C.F.R. § 280.93)

       121.    Owners and operators of USTs are required to demonstrate financial responsibility

by maintaining insurance sufficient to take corrective action and compensate third parties for

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bodily injury and property damage caused by accidental releases arising from USTs they own or

operate. 40 C.F.R. § 280.93(a), (b).

       122.     EPA’s review of records, including Defendants’ responses to EPA’s information

request letters, establishes that Defendants failed to meet their financial responsibility

requirements for Facilities 15, 16, 17, 18, 19, and 20. Specifically, at various times between

January 13, 2011, and the present, Defendants have failed to possess the required insurance

coverage for the USTs located at these Facilities, as detailed above.

       123.     Pursuant to Section 9006(a)(1) of RCRA, 42 U.S.C. § 6991e(a)(1), the Court should

issue an order enjoining all Defendants to comply with the relevant statutory and regulatory

requirements concerning financial responsibility. Additionally, pursuant to Section 9006(d)(2) of

RCRA, 42 U.S.C. § 6991e(d)(2), and 40 C.F.R. § 19.4, the Court should enter civil penalties

against all Defendants in an amount not to exceed $16,000 per tank for each day of the violations

identified above.

                                     PRAYER FOR RELIEF

       WHEREFORE, the United States respectfully requests that this Court:

       i.       Enter judgment against Defendants and in favor of the United States for the

violations alleged in this Complaint;

       ii.      Enter a permanent injunction compelling Defendants to comply with Subtitle I of

RCRA and its related regulations, and requiring Defendants to mitigate prior violations;

       iii.     Enter an order imposing civil penalties against Defendants for the violations alleged

in this Complaint for the periods of violations; and

       iv.      Grant such other and further relief as the Court deems just and appropriate.




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Dated: New York, New York
       May 1, 2019

                                         Respectfully submitted,

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